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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  GREENVILLE DIVISION

C. D. PICKLE, JR.                                                                      PETITIONER

v.                                                                            No. 4:21CV9-SA-JMV

BURL CAIN, ET AL.                                                                   RESPONDENTS


                      ORDER DENYING PETITIONER’S MOTION [21]
                        FOR A CERTIFICATE OF APPEALABILITY

       This matter comes before the court on the motion [21] by the petitioner for a Certificate of

Appealability. As the court has previously found that a Certificate of Appealability is not warranted

in this case, the instant motion is DENIED.


       SO ORDERED, this, the 8th day of June, 2021.


                                                               /s/ Sharion Aycock
                                                               U. S. DISTRICT JUDGE
